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           EXHIBIT A
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                                                              VERIZON SECURITY SUBPOENA COMPLIANCE
                                                              180 WASHINGTON VALLEY ROAD
                                                              BEDMINSTER NJ 07921
                                                              Phone : 888-483-2600 Fax: 325-949-6916




  December 2, 2021


  AU AKBAR



  Verizon Case #: 21521385
  Docket/ File#: House Subcommittee 11 24 21
  Phone Number:


  Dear Customer,

  This is to notify you that Verizon has r·:~cPivEd a subpo<.,na requiring the production of certain
  records associated with the phone numb:c;- referenc-cd above. According to our records, you are
  the subscriber of that phone number.

  A copy of the subpoena is attached. Section B, which identifies the phone number
  referenced above but also those of other Verizon subscribers, has been excluded.

  Any questions you have should be directed to the party who issued the subpoena.

 Please be advised that unless Verizon receives a court document challenging the subpoena
 by December 15, 2021, Verizon is compelled to comply with the subpoena. Copies of any
 court documents challenging the subpoena can be sent to Verizon via fax number 325-
  949-6916.

 Very truly yours,


 VERIZON SECURITY SUBPOENA COMPUANCE


 Enclosure
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                                                     SUBPOENA
                 BY AUTI-IORITY OF THE HOUSE OF REPRESENTATIVES OF THE
                      CONGRESS OF THE UNITED ST ATES OF AMERICA
   Verizon
To Attn: VSAT

            You arc hereby commanded to be and appear before the
                  Select Committee to Investigate the January 6th Attack on the United States Capitol


            of the House of Representatives of the United States at the place, date, and time specified below.

0       to produce the things identified on the attached schedule touching matters of inquiry committed to said
        committee or subcommittee; and you are not to depart without leave of said committee or subcommittee.


            Place of production: 1540A Longworth House Office Building, Washington, DC 20515

             Date: December 8, 2021                                                 Time: 10:00 a.m.

D       to testify at a deposition touching matters of inquiry committed to said committee or subcommittee;
        and you are not to depart without leave of said commitiee or subcommittee.

            Place of testimony:

        . Date: _ _ _ _ _ _ __
        I
                                                                                    Time
                                                                                           ----------
        to testify at a hearing touching matters of inquiry committed to said committee or subcommittee; and
         you are not to depart without leave of said committee or subcommittee.

             Place of testimony:

             Date:_ _ _ _ _ _ _ _ _                                                 Time
        I                                                                                  ----------
To any authorized staff member or the United States Marshals Service

    ------------------------------ to serve and make retum.
                                  Witness my hand and the seal of the House of Representatives of the United States, at

                                     the city of Washington, D.C. this 24th
                                                                       - - - day of November                     , 202 I .




Attest~H~~
Clerk
                                                                                        Chairman or Authorized Member
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                                              SCHEDULE
    In accordance with the attached definitions and instructions, you, Veri zon, are hereby required to
    produce the documents and records ("Records") listed in Section A, below, for the time period
    November 1, 2020, to January 31, 2021. concerning the phone numbers listed in Section B,
    below (the "I'hone Numbers").
    Please email the records to SELECT_CLERKS@MAIL.HOUSE.GOV or, in the alternative,
    send them by mail to 1540A Longworth House Office Building, Washington, DC 20515, care of
    Jacob Nelson, Select Committee to Investigate the January 6th Attack on the U.S. Capitol. ·
    Section A- Records to Be Produced for Each Phone Number
        1.     Subscriber Information: All subscriber information for the Phone Number, including:

                   a.      Name, subscriber name, physical address, billing address, e-mail address,
                           and any other address and contact information;

                   b:      All authorized users on the associated account;

                   c.      All phone numbers associated with lhe account;

                   d.      Length of service (including start date) and types C>fservice utilized;

                   e.      Telephone or instrument numbers (including MAC addresses), Electronic
                           Serial Numbers ("ESN"), Mobile Electronic Id entity Numbers ("MEIN")
                           Mobile Equipment Identifier ("MEID"), Mobile Identification Numbers
                           ("MI N"), Subscriber Identity Modules ("SIM"), Mobile Subscriber
                           Integrated Services Digital Network Number ("MSISDN") , International
                           Mobile Subscriber Identifiers ("IMS!"), or International Mobile Equipment
                           Identities ("IMEi") associated with the accounts;

                   f.      Activation date and termination date of each device associated with the
                           account;

                   g.      Any and all number and/or account number changes prior to and after the
                           account was activated;

                   h.      Other subscriber numbers or identities (including temporarily assigned
                           network addresses and registration Internet Protocol ("IP") addresses); and

        2.      Connection Records and Records of Session Times and Durations: All call, message
                (SMS & MMS), Internet Protocol ("IP"), and data-connection detail records associated
                with the Phone Numbers, including all phone numbers, IP addresses, or devices that
                communicated with the Phone Number via delivered and undelivered in•ound
                outbound, and routed calls, messages, voicemail, and data connections.              '
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          DOCUMENT PRODUCTION DEFINITIONS AND INSTRUCTIONS

    l.    In complying with this request, produce all responsive documents, regardless of
          classification level, that are in your possession, custody, or control, whether held by
          you or your past or present agents, employees, and representatives acting on your
          behalf. Produce all documents that you have a legal right to obtain, that you have a
          right to copy, or to which you have access, as well as documents that you have
          placed in the temporary possession, custody, or control of any third party.

    2.    Requested documents, and all documents reasonably ·related to the requested
          documents, should not be destroyed, altered, removed, transferred, or otherwise
          made inaccessible to the Select Committee to Investigate the January 6th Attack on
          the United States Capitol ("Committee').

    3.    In the event that any entity, organization, or individual denoted i!l this request is or
          has been known by any name other than that herein denoted, the request shall be
          read also to include that alternative identification.

    4.    The Committee's preference is to receive documents in a protected
          electronic form (i.e., password protected CD, memory stick, thumb drive, or
          secure file transfer) in lieu ofpaperprocuctions. With specific reference to
          classified material, you will coordinate with the Committee's Security
          Officer to arrange for the appropriate transfer of such information to the
          Committee. This includes, but is not necessarily limited to: a) identifying
          the classification level of the responsive document(s); and b) coordinating
          for the appropriate transfer of any classified responsjve document(s).

     5.   Electronic document productions should be prepared according to the
          following standards:

          a.      If the production is completed through a series of multiple partial
                  productions, field names and file order in all load files should match.

          b.      All electronic documents produced to the Committee should include the
                  following fields ofmetadata specific to each document, and no
                  modifications should be made to the original metadata:

                 . BEGDOC, ENDDOC, TEXT, BEGATTACH, ENDATTACH,
                   PAGECOUNT, CUSTODIAN, RECORDTYPE, DATE, TIME,
                  ·sENTDATE, SENTTIME, BEGINDATE, BEGINTIME, ENDDATE,
                   ENDTIME, AUTIIOR, FROM, CC, TO, BCC, SUBJECT, TITLE,
                   FILENAME, FILEEXT, FILESIZE, DA TECREA TED, TIMECREA TED,
                   DATELASTMOD, TIMELASTMOD, INTMSGID, INTMSGHEADER,
                   NATIVELINK, INTFILP ATH, EXCEPTION, BEGATT ACH.
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   6.     Documents produced to the Committee should include an index describing the
          contents of the production. To the extent more than one CD, hard drive, memory
          stick, thumb drive, zip file, box, or folder is produced, each should contain an
          index describing its contents.

   7.     Documents produced in response to this request shall be produced together with
          copies of file labels, dividers, or identifying markers with which they were
          associated when the request was served.

   8.     When you produce documents, you should identify the paragraph(s) or request(s)
          in the Committee's letter to which the documents respond.

   9.     The fact that any other person or entity also possesses non-identical or identical
          copies of the same documents shall not be a basis to withhold any information.

   l 0.   The pendency of or potential for litigation shall not be a basis to
          withhold any information.

   11.    In accordance with 5 U.S.C.§ 552(d), the Freedom of Information Act (FOIA)
          andany statutory exemptions to FOIA shall not be a basis for withholding any
          information.

   12.    Pursuant to 5 U.S.C. § 552a(b)(9), the Privacy Act shall not be a basis for
          withholding information.

   13.    If compliance with the request cannot be made in full by the specified return date,
          compliance shall be made to the extent possible by that date. An explanation of
          why full compliance is not possible shall be provided along with any partial
          production, as well as a date certain as to when full production will be satisfied.

   14.    In the event that a document is withheld on any basis, provide a log containing the
          following information concerning any such document: (a) the reason it is being
          withheld, including, if applicable, the privilege asserted; (b) the type of document;
          (c) the general subject matter; (d) the date, author, addressee, and any other
          recipient(s); (e) the relationship of the author and addressee to each other; and (t)
          the basis for the withholding.                -

   15.    If any document responsive to this request was, but no longer is, in your
          possession, custody, or control, identify the document (by date, author, subject,
          and recipients),·and explain the circumstances under which the document ceased
          to be in your possession, custody, or control. Additionally, identify where the
          responsive document can now be found including name, location, and contact
          information of the entity or entities now in possession of the responsive
          document(s).

   16.    If a date or other descriptive detail set forth in this request referring to a document
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            is inaccurate, but the actual date or other descriptive detail is known to you or is
            otherwise apparent from the context of the request, produce all documents that
            would be responsive as if the date or other descriptive detail were correct..

      17.   This request is continuing in nature and applies to any newly-discovered
            information. Any record, document, compilation of data, or information not
            produced because it has not been located or discovered by the return date shall be
            produced immediately upon subsequent location or discovery.

      18.   All documents shall be Bates-stamped sequentially and produced sequentially ..

      19.   Upon completion of the production, submit a written certification, signed by you or
            your counsel, stating that: (I) a diligent search has been completed of all
            documents in your possession, custody, or control that reasonably could contain
            responsive documents; and
            (2) all documents located during the search that are responsive have been produced
            to the Committee.

                                              Definitions
      1.    The term "document'' means any written, recorded, or graphic matter of any nature
            whatsoever, regardless of classification level, how recorded, or how
            stored/displayed (e.g. on a social media platform) and whether original or copy,
            including, but not limited to, the following: memoranda, reports, expense reports,
            books, manuals, instructions, financial reports, data, working papers, records, notes,
            letters, notices, confirmations, telegrams, receipts, appraisals, pamphlets,
            magazines, newspapers, prospectuses, communications, electronic mail (email),
            contracts, cables, notations of any type of conversation, telephone call, meeting or
            other inter-office or intra-office communication, bulletins, printed matter, computer
            printouts, computer or mobile device screenshots/screen captures, teletypes,
            invoices, transcripts, diaries, analyses, returns, summaries, minutes, bills, accounts,
            estimates, projections, comparisons, messages, correspondence, press releases,
            circulars, financial statements, reviews, opinions, offers, studies and investigations,
            questionnaires and surveys, and work sheets (and all drafts, preliminary versions,
            alterations, modifications, revisions, changes, and amendments of any of the
            foregoing, as well as any attachments or appendices thereto), and graphic or oral
            records or representations of any kind (including without limitation, photographs,
            charts, graphs, microfiche, microfilm, videotape, recordings and motion pictures),
            and electronic, mechanical, and electric records or representations of any kind
            (including, without limitation, tapes, cassettes, disks, and recordings) and other
            written, printed, typed, or other graphic or recorded matter of any kind or nature,
            however produced or reproduced, and whether preserved in writing, film, tape, disk,
            videotape, or otherwise. A document bearing any notation not a part of the original
            text is to be considered a separate document. A draft or non-identical copy is a
            separate document within the meaning of this term.
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       2.    The tem1 "communication" means each manner or means of disclosure or
             exchange of information, regardless of means utilized, whether oral, electronic,
             by document or otherwise, and whether in a meeting, by telephone, facsimile,
             mail, releases, electronic message including email (desktop or mobile device), text
             message, instant message, MMS or SMS message, message application, through a social
             media or online platform, or otherwise.

        3.   The terms "and" and "or" shall be construed broadly and either conjunctively or
             disjunctively to bring within the scope of this request any information that might
             otherwise be construed to be outside its scope. The singular includes plural number,
             and vice versa. The masculine includes the feminine and neutral genders.

        4.   The term "including" shall be construed broadly to mean "including, but not limited
             to."

        5.   The term "Company" means the named legal entity as well as any units, firms,
             partnerships, associations, corporations, limited liability companies, trusts,
             subsidiaries, affiliates, divisions, departments, branches, joint ventures,
             proprietorships, syndicates, or other legal, business or government entities over
             which the named legal entity exercises control or in which the named entity has any
             ownership whatsoever.

        6.   The term "identify," when used in a question about individuals, means to
             provide the following information: (a) the individual's complete name and title;
             (b) the individual' s business or personal address and phone number; and (c)
             any and all known aliases.

        7.   The term "related to" or "referring or relating to," with respect to any given
             subject, means anything that constitutes, contains, embodies, reflects, identifies,
             states, refers to, deals with, or is pertinent to that subject in any manner
             whatsoever.

        8.   The term "employee" means any past or present agent, borrowed employee,
             casual employee, consultant, contractor, de facto employee, detailee,
             assignee, fellow, independent contractor, intern, joint adventurer, loaned
             employee, officer, part-time employee, permanent employee, provisional
             employee, special government employee, subcontractor, or any other type of
             service provider.

        9.   The term "individual" means all natural persons and all persons or entities
             acting on their behalf.
